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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                                  Case No.: 1:21-cr-129

       v.

GABRIEL GARCIA.
______________________________/


                MOTION TO CONTINUE SENTENCING DATE (UNOPPOSED)
                    (UPDATED SUPPLEMENT FILED UNDER SEAL)

       COMES NOW, Gabriel Garcia, via undersigned counsel, and files this Motion to Continue
 Sentencing Date (Unopposed) and requests this Honorable Court convert the Sentencing date
 scheduled for April 30th, 2024 to a status hearing and schedule the Sentencing to a date when counsel
 is available, and at the Court’s convenience, as follows:

 1. Mr. Garcia’s Sentencing is presently scheduled for April 30th, 2024.

 2. Counsel has filed an Updated Supplement (Exhibits) to this Motion, and for the reasons stated
     therein requests that Sentencing be continued.

 3. Government is unopposed to a continuation of Sentencing and to converting April 30th, 2024 to a
     status hearing.

 4. Counsel for Gabriel Garcia asserts this Motion to Continue and its Updated Sealed Supplement is

     filed in good faith and not for any purpose of frustration or undue delay.

     WHEREFORE, Defendant respectfully requests this Honorable Court consider this Motion to
Continue Sentencing Date, grant this Motion, convert the Sentencing date for April 30th, 2024 to a
status hearing, and enter its Order accordingly.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Continue
Sentencing Date (Unopposed) (Updated Supplement Filed Under Seal) has been furnished via
electronic filing and by other means to AUSA, Ashley Akers, AUSA Jason McCullough, Office of the
U.S. Attorney, District of Columbia on this 14th day of March, 2024.




                                                /S/ Maria T. Rodriguez
                                                ______________________________
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